      Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 1 of 10




                                 United States District Court           ATTEST At.JD CERTIFY
                                 Middle District of Tennessee             A TRUE COPY
                                        Office of the Clerk
                                        719 Church Street
                                    Nashville, Tennessee 37203
                                     (615) 736-7178, ext 3208




E-Mail: Dalaina Thompson@tnmd.uscourts.gov
Web Site: www.tnmd.uscom1s.gov

                                             May 10, 2023



Clerk of Court
District of Columbia District Court
E. Barrett Prettyman United States Courthouse
333 Constitution Avenue, N. W ., Room 1225
Washington, DC 2000 I


Re: TRANSMISSION OF RULE 5 DOCUMENTS

USA v Eduardo Nicolas Alvear Gonzalez
District of Columbia No. I :2l -cr-00115-00 l
Middle District of Tennessee Case No. 3:23-mj-1080

Dear Clerk:

Enclosed please find certified copies of Rule 5 paperwork for the above-reference case.

                                             Sincerely,


                                            M��
                                             Dalaina Thompson
                                             Case Administrator



Enclosures
              Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 2 of 10
                                                                                                        ATTEST AND. CERTIFY
                                                                                                          ATRUE



AO 442 (Rev. 11/11) Arml W�irant
(DC6/6-16)
                                   UNITED STATES DISTRICT COURT
                                                               for the
                                                        District of Columbia


              UNITED STATES OF AMERICA                             )
                         V.                                        )
                                                                   )        Case No. 0090 1:21CR0Ol 15-00l
                         Eduardo Gonzalez                          )
                                                                   )



                                                  ARREST WARRANT

To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States Magistrate Judge without unnecessary delay
(m1nr1111fpem,11 to beurre.•1e,IJ Eduardo G-;:_:
                                           on=z= al:.::
                                                    ez =-----------------------'.------'
who is accused of an offense or violation based o n the following document filed with the court:


0     Indictment         D   Superseding Indictment       D   lnfonnation         D   Supersedin g Information       D   Complaint
12) Probation Violation Petition     O   Supervised Release Violation Petition      0    Violation Notice        D   Order of the Cou11

This offense is briefly described as follows:




Date:

 City and State: Wa shington, DC
                                                                                           Prl11ted Name and Title

                                                               Return

          This warrant was received on (date)   £ --{ d ':;J           , and the person was arrested on (date)
at (city and .date) ----.4l',A.{,c e•/ 1.j. , Z:,,· /    - , ,_,
                                  h,
                                          7

 Date:    K-- \. .� �>)
                                                                       ATTEST
              Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 3 of 10 AND CERTIFY
                                                                                                         A TRUE COPY
                                                                                                             CLERK
                                                                                                       U.S. DISTRI
       MAGISTRATE JUDGE HOLMES COURTROOM MINUTES FOR CRIMI
                   OvmEocoNFERENCE          l ✓ jcouRTROOM im,.a:::.���p.1:µ�(,lle::.::::::::._
                                                                                                         ·De.
U.S.A. v. Eduardo Gonzalez                                                             , No.. :3-mi-1080 (D.D.C>l:i-l-�r-115)
ATTORNEY FOR GOVERNMENT:                Rascoe Dean

ATTORNEY FOR DEFENDANT:                _c_ary_I _I A....
                                                      lp._crt_____________ 11}.AFPD                     □ ·Pmiel     (] Retained

                                                  ____________ ___________
PRETRIAL SERVICES/PROBATION OFFICER: Taylor Stewart
                                                                                        ......;

INTERPRETER NEEDED? 0 YES Ii) NO
                                                □LANGUAGE/INTERPRETER:
                                                   PRESENT □ TELEPHONE--=
                                                                       □=--v-m_E_O_________
D Defendant consents appear to before the Magistrate Judge by video conference.
liJ INITIAL APPEARANCE O ON A SUMMONS (ii ARRESTED ON: ----------              515n023


       □ Complaint D Indictment D Information Iii Supervised Release Pet. D Other ________
       DEFENDANT HAS A COPY OF:

       Iii Defendant advised of the charges and the maximum penalties D Defendant has a copy of notice of rights
       Iii Defendant advised of right to counsel                D Counsel retained
       Iii Financial affidavit filed under penalty of perjury .                                Ii] FPO Appointed
       D Defendant advised of right to silence                       D Counsel app,t based on counsel,s statement
       D Defendant advised of right to Consular notification
       D GOV'T and DEFENDANT advised of Due Process Protections Act of2020
       0 Defendant advised of right to preliminary hearing                 O Defendant waived preliminary hearing
       Iii Government motion for detention                                 D Defendant temporarily detained
       D Defendant waived detention hearing                                O ICE detainer on defendant
       D Defendant reserved right to hearing in future                     O Defendant to be returned to State custody
       Iii Defendant to remain in Federal custody                          O Defendant waived rights under IAD
       D Defendant to remain on current conditions of supervised release
       D Defendant ordered to psychological/psychiatric evaluation
       0 Defendant released on:
              D Own recognizance with conditions of release D standard D special
             D Appearance bond in the amount of: ____________________
             D Property bond [description ofproperty]:._____=--------------
       liJ RULE 5 - Defendant advised of right to identity hearing Iii Defendant waived identity hearing
       Iii RULE 5 - Defendant reserved right to have preliminary hearing in District of Prosecution
       Iii RULE 5 - Defendant elected to have detention hearing in District of Prosecution
       liJ RULE 5 - DEFENDANT ADVISED OF RIGHT TO RULE20 TRANSFER
0 PRELIMINARY/DETENTION/ARRl..lGNMENT CONTINUED TO: Tobcsctbyprosecutingdistrict
0 GRAND JURY WAIVED IN OPEN COURT !Defendant sworn and advised of rights by Court!
0 ARRAIGNMENT
     D Defendant acknowledges he/she has copy of Indictment/Information D Court advised Def. of penalties
     D Defendant waives reading thereof         D Indictment/Information read to defendant by Judge
       PLEA:    0 GUILTY O NOT GUILTY                   O Defendant intends to plead guilty and case referred to DJ


       DATE: 51512023                                    TOTAL TIME: _s_s _mi_nu_ies_______
       BEGIN TIME: 1:30pm                                END TIME: _2_:2...;spm_ _________
       Iii Dig/ta/Iv Recorded   D .::C�o;.:::11::..rt�Re� ::.1p�o;.:.r.:.:le;.;..r•:..· ____________
       Fonn Revised 2/9/2018                          Page 1 of_l__
             Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 4 of 10

UNITED STATES OF AMERICA v.,_E_du_on1_o_oonza_1_ _cz_____________NO. 23-mj•I0S0(D.o.c. 1:21--cr•I IS)


0 RULE 5 IDENTITY HEARING
     D Held, defendant found to be person named in warrant
     D Held, defendant found NOT to be person named in warrant and released
     D Waived in open Court
0 PRELIMINARY HEARING
     □ Probable Cause found/Held to answer/bound
                                            CONTINUED TO:
                                                     over
                                                              ----=----------
                                                                            D Discharged from custody
     D Defendant waived preliminary hearing
     D RULE 5 - Held to answer in District of Prosecution
     D RULE 5 - Defendant reserved right to have hearing in District of Prosecution
0 DETENTION HEARING
     □ Government withdrew
                                            CONTINUED TO:     ---------------
                              motion for detention or agreed to release
     D Pretrial Services Report made a part of the record D Counsel moved to retain copy of PTSR/granted
     D Bond set at:_, _______                        D Defendant released on[date]:,________
     D RULE 5 - Defendant elected to have hearing in District of Prosecution
     D Defendant waived detention hearing             D Defendant reserved right to hearing in future
     D Defendant detained, order to enter            DICE detainer pending
     D Defendant to remain in Federal custody D Defendant to be returned to State custody
     D Government moved for stay of execution of release pending appeal
            D Motion granted                          D Motion denied
     D Defendant advised of right to appeal
0 ARRAIGNMENT ON MISDEMEANOR
     D Defendant acknowledges he/she has copy oflndictment/Information
     D Indictment/Information read to defendant by Judge D Defendant waives reading thereof
     PLEA: 0 GUILTY O NOT GUILTY
     D Misdemeanor- defendant consented to trial before M�strate Judge
     D Written plea agreement/filed in open Court           U Oral plea agreement
     D Guilty plea:         D Accepted                D Rejected            D Taken under advisement
0 OTHER
     D Type of hearing and outcome: ________________________
0 DEFENDANT DID NOT APPEAR AS DIRECTED, BENCH WARRANT ISSUED

NOTES/EVIDENTIARY MATTERS/SENTENCING:                     (Witnesses, Exhibits, Attach W/Ex List if necessary)


-D.C. district court to set revocation hearing
-order to enter




                                                 Page2of_2_
                    Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 5 of 10

AO 466 (Rev. 12/17) Waiver of Rule 32.1 Hearing (Violation of Probation or Supervised Release)


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Middle District of Tennessee

                  United States of America                                   )
                                 V.                                          j         Case No. 23-mj-1080
                 Eduardo Nicolas Gonzalez                                    )
                                                                                       Charging District's Case No.         1:21-CR-00115-001
                             Defendant                                       )

                                                WAIVER OF RULE 32.1 HEARING
                                              (Violation of Probation or Supervised Release)

       I understand that I have been charged with violating the conditions of probation or supervised release in a case
pending in another district, the (name ofother court)         District of Columbia

           I have been informed of the charges and of my rights to:
          (1)        retain counsel or request the assignment of counsel if I am unable to retain counsel;
          (2)        an identity hearing to determine whether I am the person named in the charges;
          (3)        production of certified copies of the judgment, warrant, and warrant application, or reliable electronic
                     copies of them if the violation is alleged to have occurred in another district;
          (4)        a preliminary hearing to determine whether there is probable cause to believe a violation occurred if I
                     will be held in custody, and my right to have this hearing in this district if the violation is alleged to
                     have occurred in this district; and
          (5)        a hearing on the government's motion for my detention in which I have the burden to establish my
                     eligibility for release from custody.

          I agree to waive my right(s) to:
          173       an identity hearing and production of the judgment, warrant, and warrant application.
          L7        a preliminary hearing.                                                ,
          171       a detention hearing.
                    an identity, hearing, production of the judgment, warrant, and warrant application, and any preliminary
                    or detention hearing to which I y be entitled in this district. I request that my

                   >t  preliminary hearing and/or
                     ht court.
                                                        detention hearing be held in the prosecuting district, at a time set by


       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:           05/05/2023




                                                                                         Printed name of defendant's attorney
       Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 6 of 10
                                                                                  ATTEST AND CERTIFY
                                                                                    A TRUE ·COPY ..



                          IN THE UNITED STATES DISTRICT COURT����=+.��'-1'-_:;_.'='""
                              MIDDLE DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA                              )                                    .:~� T- ---�-•-·. -
                                                      )
       V.                                             )      NO. 23-mj-1080
                                                      )
EDUARDO NICOLAS GONZALEZ                              )


                   ORDER HOLDING DEFENDANT TO ANSWER IN THE
                             DISTRICT OF COLUMBIA

      The defendant, Eduardo Nicolas Gonzalez, was arrested in this District on a Warrant issued
on May 4, 2023, in the District of Columbia, D/DC Case No. l :2l-cr-00115-00 l , charging him
with:

       ---L violations of probation.

Section I. Preliminary Proceedings

__x_        No Preliminary Hearing held because
            •     x          Defendant elected to hold preliminary and detention hearing in the
                             prosecuting district, at a time set by that court.

  x         Defendant waived identity hearing.

Section II. Bond/Detention Proceedings

  X         Defendant will remain in federal custody pending the revocation hearing to be set by the
            District of Columbia.

IT IS HEREBY ORDERED:

_x_         That defendant be HELD TO ANSWER in the District of Columbia, as required by
            notice or order by the District of Columbia.

SO ORDERED.


 May 9, 2023

DATE                                   BARBARA D. HOLMES
                                       United States Magistrate Judge
         Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 7 of 10


                                                                                     ATTEST A�JO Cl::"RTIFY
                                                                                       A TRUE COPY _· �- ;

                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSI;:E

UNITED STATES OF AMERICA                                )
                                                        )
    v.                                                  )   NO. 23-mj-l080 (D.C. l :2 l-1 I 5)
                                                        )
EDUARDO GONZALEZ                                        )




                                              ORDER

         On the basis of Defendant's affidavit or his statements to the Court, the Court determines that

Defendant:


         is financially able to employ counsel and, therefore, denies his application for appointment of
         counsel at government expense.

✓        is financially unable to employ counsel and appoints the Office of the Federal Public
         Defender to represent him.

✓        is financially unable to pay the fee of any witness and pursuant to Rule l 7(b), of the Federal
         Rules of Criminal Procedure, the Clerk shall issue a subpoena for any witness, PROVIDED
         that Defendant and his counsel shall submit subpoenas only for those witnesses whose
         presence is necessary to present an adequate defense to the charge or charges.

✓        Upon Motion of the Government, the Court may order repayment or partial repayment from
         Defendant for the attorney and witness fees for these services should it appear Defendant has
         such ability at a later time.

It is so ORDERED.

Dated:




cc:      United States Attorney
                                                �)��
                                                   ::s::agistrate Judge

         Federal Public Defender
         United States Probation
         United States Marshal
                  Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 8 of 10



                                UNITED STATES DISTRICT COURT                                  ATTEST A"JD CERTIFY
                                                            for the                             A TRUE copy·
                                                                                                     CL
                                                 M iddlc District of Tennessee                               OURT
                                                                                                             TENNESSEE
              United States of America                        )                       B l:::,,'����-LJJ(&}LLL--
                                                                                                   Daput C •rk
                         V.                                   )                                                     - /
                                                              )       Case No.   23-mj-1080
                                                              )
         EDUARDO ICOLAS GONZALEZ                              )          Charging District's
                      Defe11da111                             )          Case No. D.C. I :2I-cr-00115-00I

                                     COMMITMENT TO ANOTHER DISTRICT

        The defondant has been ordered to appear in the District of Columbia.

        The defendant:     0    wi II retain an attorney.
                           � is requesting court-appointed counsel.

        The defendant remains in custody alter the initial appearance.

        IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized lo receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant's arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:         5/9/2023


                                                                       Barbara D. Holmes, U.S. Magistrate Judge
                                                                                  Primed 11a111e and title
Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 9 of 10
Case 1:21-cr-00115-CRC Document 60 Filed 05/15/23 Page 10 of 10
